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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

 THE HOMESOURCE, CORP.               :
                                     :
       v.                            :       CIVIL ACTION NO. 18-11970
                                     :
 RETAILER WEB SERVICES, LLC,         :
 et al.                              :

                                  O R D E R

       WHEREAS, a number of discovery disputes have arisen in this

 case including the pending motions for sanctions (ECF No. 274);

       WHEREAS, in the past, the parties have been unable to

 resolve discovery disputes inter se;

       WHEREAS, the parties have the financial ability to pay

 for a Special Master;

       WHEREAS, this case has been pending for almost three years

 within which time the Court has ruled on numerous discovery

 issues;

       WHEREAS, the Court has given notice to the parties of its

 intention to appoint a Special Master (see ECF No. 264);

       WHEREAS, by emails dated May 6, 2021, Plaintiff has

 requested the appointment of a Special Master and Defendant has

 acknowledged the parties’ inability to resolve their issues 1;


 1
       Fed. R. Civ. Pro. 53(b)(1) requires that, “[b]efore appointing a
 master, the court must give the parties notice and an opportunity to be
 heard” and allows that “[a]ny party may suggest candidates for appointment.”
       The Court, by its order dated March 5, 2021 gave notice to the parties
 that if they were unable to agree to a search protocol, it would appoint a
 special master. In light of the fact that the parties have indicated a near
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       WHEREAS, the Court will set $800.00 per hour as the maximum

 amount to be charged by the appointed Special Master;

       This 8th day of June 2020, it is hereby ORDERED that:

       1. Judge Stephen M. Orlofsky (Ret.) is appointed as Special

          Master in this case. 2

       2. As required by Rule 53(b)(2), the Special Master shall

          proceed with all reasonable diligence and, as provided by

          Rule 53(c), shall have the authority to address all pre-

          trial discovery matters in this case. The term “discovery

          matters” is defined as those matters which fall within

          the scope of Rule 26(b)(1) of the Federal Rules of Civil

          Procedure and all other Rules which implement the

          mandates of Rule 26(b)(1). Specifically, the Special

          Master shall have the authority to address the pending

          motion for sanctions and the discovery disputes revealed

          therein. The Special Master shall also have the authority

          to deal with all future discovery issues that arise

          between the parties and any other pre-trial discovery

          matters the Court may refer to the Special Master.




 total inability to resolve their discovery disputes, the Court has issued a
 rule to show cause why a Special Master for all discovery should not be
 appointed.

 2 Judge Orlofsky is a retired judge from the United States District Court for
 the District of New Jersey and is currently a partner at Blank Rome, LLP who
 concentrates his practice on, inter alia, alternative dispute resolution.
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       3. Specifically, with respect to discovery disputes:

             a. The Special Master shall, after consulting with the

                parties, establish procedures for the handling of

                discovery disputes. He shall have the duty and

                authority to require the submission of reports, call

                conferences, and hold hearings in order to resolve

                the parties' discovery disputes. The Special Master

                shall take all reasonable steps necessary to attempt

                to resolve the parties' disputes by agreement and

                without motion practice.

             b. To the extent necessary, the Special Master shall

                set scheduling deadlines.

             c. The Special Master shall hear, resolve, and make

                rulings on all disputes regarding discovery and,

                when appropriate, enter orders setting forth his

                rulings and recommendations.

             d. Except as otherwise ordered by the Special Master,

                the filing, service, and hearing of discovery

                related motions shall be governed by Case Management

                and Standing Orders and the Rules of this Court.

             e. The Special Master’s rulings shall be subject to

                review by the Court, consistent with Rule 53(f)(1)-

                (5).


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             f. The Special Master shall hear matters promptly and

                at such times as may be convenient, at the

                discretion of the Special Master. All hearings and

                conferences before the Special Master shall be held

                at an appropriate place arranged by the party

                presenting the motion and with the approval of the

                Special Master.

             g. The party presenting a motion shall arrange for a

                court reporter at the hearing and provide a copy of

                the transcript to the Special Master thereafter. The

                parties shall equally bear the costs of any rental

                space, court reporter, and transcript provided to

                the Special Master.

             h. The Special Master shall preserve all materials he

                receives or prepares in connection with any dispute

                regarding discovery. He shall not be required to

                file any such materials with the Court, unless

                directed to do so by the Court, except that he shall

                file any orders entered setting forth his rulings

                and any opinions prepared supporting his rulings.

       4. With consent of the parties, the Special Master may act

          as a mediator in this case.




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       5. The Special Master shall not communicate ex parte with a

          party without the consent of all the parties. The Special

          Master may communicate ex parte with the Court.

       6. The Special Master may have access to trade secrets,

          proprietary information or other confidential information

          in this action including, but not limited to, information

          which may be subject to a protective order. He and other

          persons assisting the Special Master shall preserve and

          protect the confidentiality of all such information and,

          if required to file any orders, findings, opinions or

          materials that contain or make reference to any such

          information (including, but not limited to, information

          designated “Confidential,” “For Attorneys Eyes Only”

          and/or “Sensitive Superconfidential”), he shall file the

          same under seal.

       7. The Special Master shall be compensated for his services

          at a rate of $800.00 per hour. The Special Master shall

          send statements for services and expenses directly to

          counsel for the parties on a monthly basis and shall

          receive payment directly from counsel for the parties in

          a timely fashion. The compensation and expenses of the

          Special Master shall, unless otherwise ordered by the

          Special Master, be shared equally between the Plaintiff


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          and Defendant with 50% to be paid by Plaintiff and 50% by

          Defendant. In this regard, if in the Special Master’s

          opinion, a party engages in behavior which occasions the

          waste of the Special Master’s time and resources, or

          otherwise hinders the efficient resolution of matters

          before the Special Master, that party may be apportioned

          all or a larger portion of the Special Master’s

          compensation, costs, and expenses. Any objections or

          disputes as to matters of the Special Master’s

          compensation and/or expenses shall be presented to the

          Court in a timely application.



                              AND IT IS SO ORDERED.




 June 8, 2021_                /s/ Eduardo C. Robreno
 Date                         EDUARDO C. ROBRENO, J.




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